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                              UNITED STATES DISTRICT COUR         NOV 02 2016
                            SOUTHERN DISTRICT OF CALIFO   L\:LERK, U,S, DISTRICT COURT
                                                                            SOUTHERN DISTRiCT OF CALIFORNIA

UNITED STATES OF AMERICA,
                                                                            BY        M:i.tJ        DE'!y'TY

                                                      Case No. 16cr1898-DMS

                                     Plaintiff,
                     vs.
                                                      JUDGMENT OF DISMISSAL
VALERIE SIMONA NIETO (1),

                                   Defendant.



IT APPEARING that the defendant is now entitled to be discharged for the reason that:

     an indictment has been filed in another case against the defendant and the Court has
D
     granted the motion of the Government for dismissal of this case, without prejudice; or

D    the Court has dismissed the case for unnecessary delay; or

     the Court has granted the motion ofthe Government for dismissal, without prejudice; or

D    the Court has granted the motion of the defendant for a judgment of acquittal; or

D    a jury has been waived, and the Court has found the defendant not guilty; or

D    the jury has returned its verdict, finding the defendant not guilty;

     of the offense(s) as charged in the IndictmentlInformation:
     21 U.S.C. 952 and 960; 18 U.S.C. 2




Dated:   11/1/2016
                                                  Hon. Nita L. Stormes
                                                  United States Magistrate Judge
